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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS

     IN RE:

            John William Bovenzo                  )         Case No. 15-15500
            Susan Bovenzo                         )
            aka Susan Trbovic                     )         Chapter 13
                                                  )
                                                  )         Judge Pamela S. Hollis
                           Debtor(s)              )



              NOTICE OF DEFAULT AND FAILURE TO COMPLY WITH ORDER



            NOW COMES, U.S. Bank National Association, as Trustee of the Tiki Series III Trust by

     its attorneys, Marinosci Law Group, P.C., and hereby gives notice that the Debtor has failed to

     comply with the Agreed Order Conditioning the Automatic Stay entered December 11, 2018 (DE

     76) (“Agreed Order”). Pursuant to the Agreed Order, the Debtor was to cure the post-petition

     default and was to make monthly post-petition payments in a timely manner. The Debtor has

     failed to tender the monthly post-petition payments for the months of December 01, 2018 and

     January 01, 2019 in the amount of $1,949.62. Furthermore, the Debtor has failed to tender the

     monthly stipulated payments for the months of December 01, 2018 and January 01, 2019 each in

     the amount of $2,232.58 per the repayment scheduled in the Order. Pursuant to said Order,

     Debtor has fourteen (14) days to pay all delinquent amounts owed, plus any amounts accrued

     during said period. The amount due as of January 8, 2019 is $8,364.40.


                10 2019
DATED: January ____,                                  U.S. Bank National Association

                                                      By:   /s/ Diana Carpintero
                                                            Marinosci Law Group, P.C.
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the above instrument was filed electronically with the

                 10 2019, and that he has determined that the following person(s) are
Court on January ____,

registered with the Court for electronic filing, and, therefore, will be sent a copy of the pleading

by the Court:

Joseph S Davidson; Charles L. Magerski o.b.o Debtors:
jdavidson@sulaimanlaw.com; cmagerski@sulaimanlaw.com

Glenn B Steaerns – Trustee: stearns_g@lisle13.com

Patrick S Layng – U.S. Trustee: USTPRegion11

                                                        /s/ Diana Carpintero
                                                        Diana Carpintero
                                                        Marinosci Law Group, P.C.

                                      PROOF OF SERVICE
                                        10 2019, a copy of the foregoing Notice was mailed by
       I hereby certify that on January ___,

first-class U.S. Mail, postage prepaid and properly address to the following:

       John William Bovenzo
       173 South Palmer Drive
       Bolingbrook, IL 60490

       Susan Bovenzo
       173 South Palmer Drive
       Bolingbrook, IL 60490

                                                        /s/ Diana Carpintero
                                                        Diana Carpintero
                                                        Marinosci Law Group, P.C.

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